     Case 1:13-cr-00083-WMS-HBS Document 697 Filed 08/17/20 Page 1 of 4




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

JOSE RIVERA,

                            Defendant-Petitioner,
              v.                                                      13-CR-83-WMS

UNITED STATES OF AMERICA,

                        Respondent.
______________________________________________


    MOTION FOR AN EXTENSION OF TIME TO FILE A RESPONSE TO THE
   DEFENDANT-PETITIONER’S MOTION PURSUANT TO TITLE 28, UNITED
                    STATES CODE, SECTION 2255


       PLEASE TAKE NOTICE, that upon the annexed Affidavit of Brendan T. Cullinane,

Assistant United States Attorney, the undersigned hereby moves this Court for an extension

of time to file a response to the defendant-petitioner’s motion pursuant to Title 28, United

States Code, Section 2255. See Doc. No. 681.



       DATED: Buffalo, New York, August 17, 2020.


                                          JAMES P. KENNEDY, JR.
                                          United States Attorney


                                   BY:    s/BRENDAN T. CULLINANE
                                          Assistant United States Attorney
                                          United States Attorney=s Office
                                          Western District of New York
                                          138 Delaware Avenue
                                          Buffalo, New York 14202
                                          716-843-5875
                                          Brendan.Cullinane@usdoj.gov
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

JOSE RIVERA,

                            Defendant-Petitioner,
              v.                                                        13-CR-83-WMS

UNITED STATES OF AMERICA,

                        Respondent.
______________________________________________


                                          AFFIDAVIT


STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )


       BRENDAN T. CULLINANE, being duly sworn, deposes and states:



       1.     I am an Assistant United States Attorney for the Western District of New York

and I am assigned responsibility for the above-referenced case. This affidavit is submitted in

support of the government’s motion for a thirty-day extension to file a response to the

defendant’s motion pursuant to Title 28, United States Code, Section 2255.



       2.     On July 7, 2020, the defendant filed a pro se motion pursuant to Title 28,

United States Code, Section 2255. See Doc. No. 681. On July 8, 2020, the Court set a

scheduling order, which permitted the government to file a motion to dismiss by July 28,

2020. See Doc. No. 684. On July 28, 2020, the government filed a motion to dismiss the

motion. See Doc. No. 689.
     Case 1:13-cr-00083-WMS-HBS Document 697 Filed 08/17/20 Page 3 of 4




       3.      The Court’s order also scheduled the government to respond to the defendant-

petitioner’s motion by August 22, 2020. See Doc. No. 684.



       4.      Since the Court issued the scheduling order, the government has continued to

review the defendant-petitioner’s motion and relevant case law.           Additionally, the

government has requested information regarding the defendant’s motion and is awaiting that

information.   Upon receipt of the additional information and continued review of the

defendant’s motion, in order to properly prepare and respond to the allegations in the

defendant’s filing, the government respectfully requests an additional thirty days to respond

to the defendant’s motion.



       5.      Based upon the foregoing, the government respectfully requests an extension

until September 22, 2020, to file its response.



                                            s/BRENDAN T. CULLINANE
                                            Assistant United States Attorney
                                            United States Attorney=s Office
                                            Western District of New York
                                            138 Delaware Avenue
                                            Buffalo, New York 14202
                                            716-843-5875
                                            Brendan.Cullinane@usdoj.gov

Subscribed and sworn to before me
this 17th day of August, 2020.
s/ Jessica M. Duquette
Notary Public of New York
Registration No.: 01DU6373793
Qualified in Erie County
My Commission Expires on 04/16/2022




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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

JOSE RIVERA,

                            Defendant-Petitioner,
              v.                                                      13-CR-83-WMS

UNITED STATES OF AMERICA,

                        Respondent.
______________________________________________


                              CERTIFICATE OF SERVICE


         I hereby certify that on August 17, 2020, the MOTION FOR AN EXTENSION OF

TIME TO FILE A RESPONSE TO THE DEFENDANT-PETITIONER’S MOTION

PURSUANT TO TITLE 28, UNITED STATES CODE, SECTION 2255 was filed with

the Clerk of the District Court using its CM-ECF system.



   I further certify that as the defendant is representing himself pro se, the foregoing was

provided to the defendant on August 18, 2020, via mail, at his place of incarceration stated

below:

                                   Jose Rivera
                                   Reg. No. 22416-055
                                   Allenwood Low Federal Correctional Institution
                                   P.O. Box 1000
                                   White Deer, PA 17887



                                          s/ JESSICA DUQUETTE
                                          Legal Assistant
